            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                             2:14 CR 19-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
JOSHUA MONROE BERRY.                   )
                                       )
______________________________________ )


      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this Court on April 8, 2015.

It appeared to the Court at the call of this matter on for hearing the Defendant was

present with his attorney, Al Messer and the Government was present and

represented through Assistant United States Attorney Tom Ascik.            From the

arguments of counsel for Defendant and the arguments of the Assistant United States

Attorney and the records in this cause, the Court makes the following findings:

      Findings.    On October 22, 2014 a bill of indictment was issued charging the

Defendant with conspiracy to possess with intent to distribute marijuana, in violation

of 21 U.S.C. § 841(a) and 846, manufacturing marijuana in violation of 21 U.S.C. §

841(a)(1), using and carrying a firearm during and in relation to a drug trafficking

crime, in violation of 18 U.S.C. § 924(c), and possession of firearms and ammunition

at a time when he was addicted to a controlled substance, in violation of 18 U.S.C.
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§ 922(g)(3). On April 8, 2015, the undersigned held an inquiry, pursuant to Rule 11

of the Federal Rules of Criminal Procedure, and accepted a plea of guilty of the

Defendant to the charge of conspiracy to possess with intent to distribute marijuana,

in violation of 21 U.S.C. § 841(a)(1) and 846. At the end of the Rule 11 proceeding,

this Court presented the issue of whether or not Defendant should now be detained,

pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(a)(1) and 846. That

crime is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C). The

undersigned made an inquiry of Assistant United States Attorney Tom Ascik as to

whether or not there will be a recommendation that no sentence of imprisonment be

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imposed upon Defendant. Mr. Ascik advised the Court that such a recommendation

could not be made in this matter. The undersigned cannot find there is a likelihood

that a motion for acquittal or new trial will be granted due to the plea of guilty of

Defendant. It would thus appear, and the Court is of the opinion that the Court is

required to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate

the detention of Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby revoked and it is ORDERED that the Defendant be

detained pending further proceedings in this matter.


                                       Signed: April 13, 2015




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